Case 2:06-cr-00062-DBH Document 154 Filed 12/18/13 Page 1 of 2   PageID #: 1083




                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE

UNITED STATES OF AMERICA            )
                                    )
                                    )
                                    )     CRIMINAL NO. 2:06-CV-62-DBH-01
v.                                  )       (CIVIL NO. 2:13-CR-282-DBH)
                                    )
RYAN BUTTERWORTH,                   )
                                    )
            DEFENDANT/MOVANT        )

              ORDER AFFIRMING RECOMMENDED DECISION
                     OF THE MAGISTRATE JUDGE

      On November 13, 2013, the United States Magistrate Judge filed with the

court, with copies to the parties, her Recommended Decision on 28 U.S.C.

§ 2255 Motion. The movant filed his objection to the Recommended Decision

on November 29, 2013.      I have reviewed and considered the Recommended

Decision, together with the entire record; I have made a de novo determination

of all matters adjudicated by the Recommended Decision; and I concur with the

recommendations of the United States Magistrate Judge for the reasons set

forth in the Recommended Decision, as amended or clarified below, and

determine that no further proceeding is necessary.

      It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge is hereby ADOPTED.     The movant’s motion for habeas relief under 28

U.S.C. § 2255 is DENIED.

      It is ORDERED that a certificate of appealability shall issue on the

retroactive application of Alleyne v. United States, 133 S. Ct. 2151 (2013),
Case 2:06-cr-00062-DBH Document 154 Filed 12/18/13 Page 2 of 2    PageID #: 1084




because the Court of Appeals for the First Circuit has not yet ruled on this

constitutional issue. 28 U.S.C. § 2253(c).

      SO ORDERED.

      DATED THIS 18TH DAY OF DECEMBER, 2013

                                             /S/D. BROCK HORNBY
                                             D. BROCK HORNBY
                                             UNITED STATES DISTRICT JUDGE




                                                                              2
